    Case 1:22-cr-00200-APM Document 168 Filed 02/01/24 Page 1 of 9




              IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


                                  )
 UNITED STATES OF AMERICA,        )
                                  )    Criminal No. 1:22-cr-00200-APM
              v.                  )
                                  )
     PETER K. NAVARRO,            )
                                  )
          Defendant.              )
                                  )


DEFENDANT PETER K. NAVARRO’S SUPPLEMENT IN SUPPORT OF RELEASE
                       PENDING APPEAL
         Case 1:22-cr-00200-APM Document 168 Filed 02/01/24 Page 2 of 9




        “I understand I’ve hamstrung you dramatically.” Hr’g Tr., at 291:17-18 (Sep. 5, 2023).

This was the observation of the Court in summarizing the impact of its pretrial rulings on Dr.

Navarro’s ability to present a defense to his prosecution for contempt of Congress. As the Court

observed at Dr. Navarro’s sentencing: “You weren’t foreclosed from presenting a mens rea

defense because of me. You were foreclosed from presenting a mens rea defense because that, in

my belief, is how the Circuit and Supreme Court law reads.” Sentencing Tr., at 71:2-8 (Jan. 25,

2024). A plethora of legal determinations will be the subject of the appeal in this matter, but one,

the application of Licavoli v. United States, 294 F.2d 207 (D.C. Cir. 1961), unquestionably

affects the entirety of the prosecution as against Dr. Navarro.

        Consider the government’s summation in closing argument: “Defendant Navarro gave a

reason for his non-compliance: Executive privilege. The defendant repeated the words

‘executive privilege.’ The Committee responded. The Committee explained why executive

privilege would not excuse him from non-compliance.” Trial Tr., at 637:4-11 (Sep. 7, 2023). Dr.

Navarro was barred from responding to this assertion by the government in his trial. See Order,

at 30-31 (Jan. 19, 2023) (ECF No. 68) (“The government is correct that Licavoli forecloses a

defense premised solely on Defendant’s claimed belief that President Trump’s invocation of

executive privilege excused his nonappearance before the Select Committee.”). Indeed, as a

result, Dr. Navarro specifically asked the Court to preclude the government from mentioning

executive privilege at all, given his inability to explain its importance to the jury, but was denied

this request. See Hr’g Tr., at 302 (Sep. 5, 2023) (The Court: “I mean, I recognize and appreciate

it puts you in a bind, in a little bit of a bind, but it’s a bind that’s created by the law and what the

Circuit has held and what the Supreme Court frankly has held about, you know, state of mind not

being a defense of contempt.”).



                                                    2
         Case 1:22-cr-00200-APM Document 168 Filed 02/01/24 Page 3 of 9




       Specifically, as the Court held, “[l]ike any other person charged with a violation of § 192,

Defendant cannot assert as a defense that he refused to appear because he had a good faith belief

that he was not legally required to do so.” Order, at 32 (Jan. 19, 2023) (ECF No. 68). Yet, the

government was permitted to summarize Dr. Navarro’s intent in its closing:

       Defendant Navarro thinks he does not have to play by the rules. He had contempt
       for the Committee’s need for information about the January 6th attack. When
       faced with a clear decision whether to comply with a congressional subpoena or
       not, the defendant chose defiance. For that reason, you should find him guilty of
       both counts.”

Trial Tr., at 642:5-10 (Sep. 7, 2023). The inability to present any meaningful defense was

precisely the issue Judge Nichols flagged in his determination that Defendant Stephen K. Bannon

should be released pending his appeal of his conviction pursuant to § 192. See Sentencing Tr., at

76:15-77:18, United States v. Bannon, No. 21-cr-670 (D.D.C. Oct. 21, 2022) (The Court: “I am

prepared to release Mr. Bannon from his sentence of incarceration pursuant to 18 U.S. Code

Section 1343, if he files a timely appeal . . . In particular, as I’ve noted throughout this case,

there is a substantial question regarding what it should mean for a defendant to willfully make

default under the contempt of Congress statute and what evidence a defendant should be

permitted to introduce on that question. . . .”). See also Hr’g Tr., at 121:12-21, United States v.

Bannon, No. 21-cr-670 (D.D.C. July 11, 2022) (“I do want to reiterate my concerns with the

mens rea standard as held by Licavoli. Evidence regarding the reasons that Mr. Bannon did not

comply with the Subpoena here, for example, because he didn’t believe the Subpoena was valid

or because he was – he believed he was legally excused from showing up as a result of the

former President’s [invocation] of executive privilege or because he relied on his lawyers’ advice

on these topics, these are [not] relevant to the criminal charges here and therefore

inadmissible.”). Here too, the limitations imposed by this Court pursuant to the Circuit’s holding



                                                   3
           Case 1:22-cr-00200-APM Document 168 Filed 02/01/24 Page 4 of 9




in Licavoli alone present a “close question” or “one that could very well could be decided the

other way.” United States v. Perholtz, 836 F.2d 554, 555 (D.C. Cir. 1988). See also Oral

Argument, United States v. Bannon, No. 22-3086 (D.C. Cir. Nov. 9, 2023) (expressing

skepticism that the government be permitted to preclude Mr. Bannon from “telling the jury his

reasons” while also telling the jury, “he had no reasons”). 1

         Accordingly, the Court should stay Dr. Navarro’s sentence pending his appeal of the

applicability of Licavoli to assertions of executive privilege. Licavoli, as the Court is aware,

stands for the position that, “[a]dvice of counsel does not immunize . . . a deliberate intention to

do the act.” 294 F.2d at 209. On appeal, the D.C. Circuit should hold that Licavoli’s antiquated

holding is inconsistent with prior Circuit precedent, see Townsend v. United States, 95 F.2d 352

(D.C. Cir. 1938) (“[T]he supreme Court has also held – perhaps on the theory that willfulness is a

type of specific intent – that where the crime involves willful intent, an accused may show

justification by proving that he ‘honestly and in good faith seeks advice of a lawyer as to what he

may lawfully do . . . and fully and honestly lays all the facts before his counsel, and in good faith

and honestly follows such advice, relying upon it and believing it to be correct, and only intends

that his acts shall be lawful, . . . even if such advice were an inaccurate construction of the law.’”

(quoting Williamson v. United States, 207 U.S. 425, 453 (1908)), and therefore not binding on a

subsequent panel of the court. See Irons v. Diamond, 670 F.2d 265, 268 n.11 (D.C. Cir. 1981).

Moreover, Licavoli is inapplicable to assertions of executive privilege, which implicate

principles of separation of powers. See Pauling v. Eastland, 288 F.2d 126, 129 (D.C. Cir. 1960)

(“If a person under indictment or under judgment of conviction is before a court and challenges




1
    Available at https://www.youtube.com/watch?v=-uMUFj9X2Vw, at 30:20 to 31:30.

                                                  4
         Case 1:22-cr-00200-APM Document 168 Filed 02/01/24 Page 5 of 9




the indictment or conviction, the court must apply the law, paying heed and giving effect, first of

all, to Constitutional provisions.”).

       In addition, the Court has also already recognized that its determination on what

constitutes a “proper” invocation of privilege was required of former President Trump was an

issue of first impression for this (or any) District. See Hr’g Tr., at 8:19-25, 9:1-2 (Aug. 30,

2023) (ECF No. 149) (“[T]he issue of whether a president must personally invoke the

presidential communications privilege remains an open question, and the court need not decide

it now as neither party raised it below or on appeal . . . . So I want to make the record clear that

this is an open question.” (emphasis added)). If, as Dr. Navarro has long asserted, executive

privilege is presumptive, United States v. Nixon, 418 U.S. 683, 708 (1974) (quoting Nixon v.

Sirica, 487 F.2d 700, 717 (D.C. Cir. 1973)), and he was therefore duty-bound not to disclose

otherwise privileged information to Congress, Comm. on the Judiciary v. McGahn, 415 F. Supp.

3d 148, 213 n.34 (D.D.C. 2019) (The identification of sensitive information deemed subject to

executive privilege by the President, “gives rise to a legal duty on the part of the aide to invoke

the privilege on the President’s behalf.”), then the Department has now conceded his

prosecution pursuant to § 192 violates the separation of powers doctrine. Hr’g Tr., at 122:11-24

(Aug. 28, 2023) (ECF No. 148). See also Prosecution for Contempt of Congress of an

Executive Branch Official Who Has Asserted a Claim of Executive Privilege, 8 Op. O.L.C. 101,

134 (1984) (“Olson Opinion”) (“[T]he separation of powers principles that underlie the doctrine

of executive privilege also would preclude an application of the contempt of Congress statute o

punish officials for aiding the President in asserting his constitutional privilege.”). Accordingly,

the question of whether an invocation of executive privilege is required, and what is required for




                                                 5
        Case 1:22-cr-00200-APM Document 168 Filed 02/01/24 Page 6 of 9




a “proper” invocation are both “close questions” or questions “that could very well could be

decided the other way.” Perholtz, 836 F.2d at 555.

      The prosecution of Dr. Navarro for refusing to provide documents to the Select

Committee before a formal determination had been made as to the applicability of any privilege

similarly implicates separation of powers principles. Whether such documents were privileged

is not a determination that could have been made either by Dr. Navarro or the Select Committee,

but only by the Judiciary. See Nixon v. Sirica, 487 F.2d 700, 715 (D.C. Cir. 1973) (“That the

privilege is being asserted by the President against a grand jury does not make the task of

resolving the conflicting claims any less judicial in nature. Throughout our history, there have

frequently been conflicts between independent organs of the federal government, as well as

between the state and federal governments. When such conflicts arise in justiciable cases, our

constitutional system provides a means for resolving them – one Supreme Court.”). To that end,

even the Justice Department now concedes, “[t]he United States does not know whether [Dr.

Navarro] has withheld emails on the basis that they involve work [Dr. Navarro] undertook in his

personal capacity, nor does it know how [Dr. Navarro] would define the contours of work

conducted in his personal, as opposed to official, capacity,” and instead insinuated that only a

document by document review of such records would confirm whether they were official

records, and thus potentially protected by executive privilege. Brief, at 4, United States v.

Navarro, No. 22-cv-2292 (D.D.C. Dec. 29, 2023) (ECF No. 35). This position is consistent

with the Department’s observation – 40 years ago – that, “[t]he United States Court of Appeals

or the District of Columbia Circuit has stated on several occasions that criminal contempt

proceedings are an inappropriate means for resolving document disputes, especially when they

involve another governmental entity.” Olson Opinion, at 133 (citing Tobin v. United States, 306



                                                6
        Case 1:22-cr-00200-APM Document 168 Filed 02/01/24 Page 7 of 9




F.2d 270, 276 (D.C. Cir.), cert. denied, 371 U.S. 902 (1962) (“Especially where the contest is

between different governmental units, the representatives of one unit in conflict with another

should not have to risk jail to vindicate his constituency’s rights.”)).

      Finally, given that the Court has decided an issue of first impression and concluded that

Dr. Navarro relied upon, at best, an improperly perceived invocation of executive privilege,

whether the rule of lenity precluded Dr. Navarro’s prosecution presents a “close question”

warranting Dr. Navarro’s release pending his appeal. Although the rule of lenity pertains to

statutory interpretation, see Muscarello v. United States, 524 U.S. 125 139 (1998), it is not

limited only to cases where a statute’s plain language suffers from “grievous ambiguity or

uncertainty,” but rather where, “after seizing everything from which aid can be derived,” the

Court can make, “no more than a guess as to what Congress intended.” Reno v. Koray, 515 U.S.

50, 64 (1995). Here, it is patently unclear that Congress intended to punish senior presidential

advisors who in good faith refused to comply with a congressional subpoena based on a good

faith belief they were duty-bound to assert executive privilege.

                                [SIGNATURE ON NEXT PAGE]




                                                  7
        Case 1:22-cr-00200-APM Document 168 Filed 02/01/24 Page 8 of 9




Dated: February 1, 2024           Respectfully Submitted,

                                    E&W Law, LLC

                                           /s/ John S. Irving___________
                                    John S. Irving (D.C. Bar No. 460068)
                                    1455 Pennsylvania Avenue, N.W., Suite 400
                                    Washington, D.C. 20004
                                    Telephone: (301) 807-5670
                                    Email: john.irving@earthandwatergroup.com


                                    SECIL LAW PLLC

                                            /s/ John P. Rowley, III_______
                                    John P. Rowley, III (D.C. Bar No. 392629)
                                    1701 Pennsylvania Ave., N.W., Suite 200
                                    Washington, D.C. 20006
                                    Telephone: (703) 417-8652
                                    Email: jrowley@secillaw.com

                                    BRAND WOODWARD LAW, LP

                                            /s/ Stanley E. Woodward, Jr.
                                    Stan M. Brand (D.C. Bar No. 213082)
                                    Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                    400 5th Street NW, Suite 350
                                    Washington, DC 20001
                                    202-996-7447 (telephone)
                                    202-996-0113 (facsimile)
                                    Stanley@BrandWoodwardLaw.com

                                    Counsel for Dr. Peter K. Navarro




                                       8
         Case 1:22-cr-00200-APM Document 168 Filed 02/01/24 Page 9 of 9




                                  CERTIFICATE OF SERVICE
       On February 1, 2024, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties. .

                                             Respectfully submitted,

                                                    s/ Stanley E. Woodward, Jr.
                                             Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                             BRAND WOODWARD LAW, LP
                                             400 Fifth Street Northwest, Suite 350
                                             Washington, DC 20001
                                             202-996-7447 (telephone)
                                             202-996-0113 (facsimile)
                                             Stanley@BrandWoodwardLaw.com

                                             Counsel for Dr. Peter K. Navarro
